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 3   801 I Street, 3rd Floor
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 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     DONALD TAYLOR
 6
 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )     No. 2:08-CR-263 FCD
                                     )
12                  Plaintiff,       )
                                     )     STIPULATION AND ORDER
13        v.                         )     CONTINUING STATUS CONFERENCE
                                     )     AND EXCLUDING TIME
14   CHARLES BARKSDALE,              )
     DONALD TAYLOR, et al.,          )
15                                   )     Date: November 10, 2008
                    Defendants.      )     Time: 10:00 a.m.
16                                   )     Judge: Frank C. Damrell, Jr.
     _______________________________ )
17
18        IT IS HEREBY STIPULATED AND AGREED between the parties, through
19   undersigned counsel, that the status conference scheduled for November
20   10, 2008, may be continued to November 24, 2008 at 10:00 a.m.
21        The government recently obtained a superseding indictment adding
22   additional defendants.    Defendants Barksdale and Taylor and government
23   counsel continue to discuss resolving the case without trial but a number
24   of issues remain unresolved; additional discovery may be necessary in
25   light of the new indictment.     So that these matters may be resolved, and
26   in light of the indictment adding new defendants, some of whom have yet
27   to be arraigned, the parties agree that time under the Speedy Trial Act
28   should be excluded from the date of this order through November 24, 2008,
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 1   pursuant to Title 18, United States Code, Section 3161(h)(8)(A) and
 2   (B)(iv)(Local Code T4).
 3                                       Respectfully Submitted,
 4                                       DANIEL J. BRODERICK
                                         Federal Defender
 5
 6   Dated:    November 6, 2008          /s/ T. Zindel
                                         TIMOTHY ZINDEL
 7                                       Assistant Federal Defender
                                         Attorney for DONALD TAYLOR
 8
 9   Dated:    November 6, 2008          /s/ T. Zindel for P. Hanly
                                         PATRICK HANLY
10                                       Attorney for CHARLES BARKSDALE
11
12   Dated:    November 6, 2008          /s/ T. Zindel for W. Portanova
                                         WILLIAM PORTANOVA
13                                       Attorney for BESSIE OAKLEY
14                                       McGREGOR W. SCOTT
                                         United States Attorney
15
16   Dated:    November 6, 2008          /s/ T. Zindel for
                                         MATTHEW D. SEGAL
17                                       Assistant U.S. Attorney
18
                                          O R D E R
19
20          The status conference is continued to November 24, 2008 at 10:00
21   a.m.   The court further finds that the ends of justice served by granting
22   a continuance outweigh the best interests of the public and the defendant
23   in a speedy trial.        Time is therefore excluded from the date of this
24   order through November 24, 2008, pursuant to 18 U.S.C. § 3161(h)(8)(A)
25   and (B)(iv).
26          IT IS SO ORDERED.
27   Dated:    November 6, 2008                     _______________________________________
                                                    FRANK C. DAMRELL, JR.
28                                                  UNITED STATES DISTRICT JUDGE

     Stip & Order                             -2-
